Case 1:96-cv-01698-WDF Document1 Entered on FLSD Docket 06/27/1996 Page 1 of 18

IN THE UNITED STATES DISTRICT COURT
FOR THE SOUTHERN DISTRICT OF FLORIDA

ROBYN ELLIOTT, A NO.
-169
Plaintiff,
att
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vs PAGE TE ATE sUDGa, ° ot

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RUSSELL W. GALBUT, individually; y FERCUSO :
CRESCENT HEIGHTS INVESTMENTS, Cl = oe
INC., a Florida corporation; ne,
and CRESCENT HEIGHTS SALES, INC., are
a Florida corporation, Se

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Defendants.

 

Plaintiff Robyn Elliott ("Elliott"), by and through her
undersigned counsel, sues Defendants Russell W. Galbut ("Galbut"),
Crescent Heights Investments, Inc. ("CHI"), and Crescent Heights
Sales, Inc. ("CHS"), and alleges as follows:

ALLEGATIONS COMMON TO ALL COUNTS

1. Elliott brings this action to recover from Defendants CHI
and CHS back pay, fringe benefits, front pay, compensatory damages,
punitive damages, reasonable attorney's fees and costs for unlawful
sex discrimination and sexual harassment by Defendants in violation
of Title VII of the Civil Rights Act of 1965, as amended by the
Civil Rights Act of 1991, 42 U.S.C. §§1981(a)(b)(3) and
1981(a)(b)(1), and in violation of the Florida Civil Rights Act of
1992, as amended, §760.01, et seq., Fla. Stat. (1994). In
addition, Elliott brings this action against Defendants CHI and CHS
to recover lost wages, lost benefits, compensatory damages,
reasonable attorney's fees and costs for unlawful retaliation by

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Case 1:96-cv-01698-WDF Document1 Entered on FLSD Docket 06/27/1996 Page 2 of 18

Defendants CHI and CHS in violation of the Florida Whistleblower
Statute, §448.102, Fla. Stat. (1991). Finally, Elliott brings this
action to recover compensatory and punitive damages from Defendant
Galbut for intentional infliction of emotional distress against
Elliott.

2. Jurisdiction of this Court is proper pursuant 28 U.S.C.
§§1331, 1337, 1343, and 1345; 42 U.S.C. §2000e-5(f); and 28 U.S.C.
§§2201 and 2202. This Court also has pendent jurisdiction over
Elliott's common law claims and her claims brought pursuant to
§§448.102, 448.103, and 760.07 , Fla. Stat.

3. Venue for this action properly lies in this Court because
the unlawful actions alleged herein occurred in this District.

4. Elliott is a female natural person, being a citizen of
the United States, and a citizen and resident of Broward County,
Florida.

5. Defendants CHI and CHS are, and at all material times
have been, Florida corporations authorized to do business in the
State of Florida, and doing business in Dade County, Florida.

6. At all material times hereto, Defendants CHI and CHS were
"employers" within the meaning of Title VII of the Civil Rights Act
of 1964, as amended, 42 U.S.C. §2000e(b), and §760.01(7) of the
Florida Civil Rights Act of 1992, in that they were businesses
affecting interstate commerce that had employed 15 or more persons
for each working day in each of 20 or more calendar weeks in the

current or preceding calendar year. In addition, CHI and CHS were,

at all material times hereto, “employers" within the meaning of
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§448.101(3), Fla. Stat. (1991), in that they were corporations that
employed 10 or more persons.

7. At all material times hereto, Defendants CHI and CHS were
"joint employers" of Elliott within the guidelines and criteria
adopted by the United States Equal Employment Opportunity
Commission ("EEOC").

8. At all material times hereto, Defendant Galbut was, and
still is, the Managing Director, an owner, and agent of Defendants
CHI and CHS. At all material times hereto, Galbut was a natural
person, being a citizen of the United States and a citizen and
resident of Dade County, Florida.

9. At all material times hereto, Galbut was employed by CHI
and CHS, and was Elliott's direct supervisor.

10. All conditions precedent to the institution of this
action have been fulfilled, waived, or otherwise discharged. In
addition, Elliott has exhausted all of her administrative remedies
under the applicable Federal and State statutes.

11. Between March, 1990 and approximately December 27, 1995,
Elliott was employed by CHI and CHS as the administrative assistant
for Galbut. Elliott learned of her discharge from CHI and CHS on
or about December 27, 1995.

12. Elliott has retained the undersigned law firm to
represent her in this case, and has agreed to pay the firm a
reasonable fee for its services. Pursuant to 42 U.S.C. §1988,
§760.35(2), Fla. Stat. (1994), and §448.104, Fla. Stat. (1991),

Elliott is entitled to recover her attorney's fees and costs in

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connection with the successful prosecution of this action.

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13. Commencing in approximately June of 1990 and continuing
through December 27, 1995, Elliott was subjected to a continuous
campaign of sexual discrimination, sexual harassment, and exposure
to a sexually hostile work environment by Galbut, her supervisor
and the agent and Managing Director of CHI and CHS. This campaign
of sexual discrimination, sexual harassment, and exposure to a
sexually hostile work environment included, but was not limited to,
the following:

(a) In or about June, 1990, Galbut introduced Elliott to one
of his male business associates, a prominent Miami attorney who had
provided representation to the Defendant companies. Galbut
instructed Elliott to give the business associate a tour of the
Alexander Hotel, one of the properties owned by CHI. Galbut also
instructed Elliott to give the business associate "anything he
wanted." During the tour of the property, the business associate
asked Elliott to show him a typical suite. Upon entering the
suite, the business associate informed Elliott that Galbut had
promised him that Elliott would provide him with oral sex. Elliott
informed the business associate that there was clearly a
misunderstanding and told him that they had to leave the suite.
Elliott then confronted Galbut regarding the incident. In
response, Galbut laughed and informed Elliott that it would not
happen again.

(b) In November, 1990, Galbut introduced Elliott to another

4

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prominent male attorney friend of his who was staying in the
Alexander Hotel with his wife for the Thanksgiving holiday. Galbut
introduced Elliott to his friend in the lobby of the Alexander
Hotel, instructed Elliott to be nice to his friend, and left
Elliott alone with his friend. Galbut's friend then proceeded to
make unwelcome sexual overtures to Elliott, apparently because he
had been informed by Galbut that Elliott would reciprocate.
Elliott, appalled at the friend's gestures, excused herself. The
following day, Elliott confronted Galbut regarding the incident and
told him to stop telling his friends that Elliott would provide
them with sexual favors. In response, Galbut apologized and said
the incident would not happen again.

(c) Between 1990 and 1995, Galbut continuously required
Elliott to make arrangements for Galbut and his friends to use
complimentary suites at hotels owned by Defendant CHI. Galbut
instructed Elliott to use fictitious names to register him and his
friends and that he and his friends would use the suites
approximately one hour at a time. Elliott learned that the suites
were to be made available to Galbut and his friends to permit them
to engage in sexual relations with various females.

(a) Between 1990 and 1995, Galbut, a married man, engaged in
a number of extramarital affairs. Throughout this time, Galbut, on
numerous occasions, would describe to Elliott, using sexually
explicit language, the various sexual relations and _ sexual
practices he engaged in, or would like to engage in, with his

female companions. These discussions that Galbut had with Elliott,

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which were unwelcome to Elliott, included Galbut having Elliott sit
in on a sexually explicit phone conversation between Galbut and
another woman; Galbut informing Elliott that he had had sexual
intercourse with another female on top of the desk in his office;
Galbut informing Elliott that he had had sexual relations with more
than five different women; Galbut describing to Elliott the number
of orgasms he and one of his female companions had; Galbut showing
Elliott sexually suggestive photographs taken of females at a party
at Galbut's penthouse apartment; and Galbut informing Elliott that,
on one occasion, he had had sexual intercourse with another female,
but would not do it again because she was "too kinky" for him.

(e) Between 1990 and 1995, Galbut continuously required
Elliott to make arrangements for the sending of expensive gifts and
flower arrangements to his various female friends. Galbut also
required Elliott to make arrangements for him to meet with his
female friends at restaurants and hotel rooms in the company-owned
hotels. Galbut further required Elliott to make travel
arrangements and airplane reservations for various Galbut female
companions, as well as for Galbut's wife. In connection with these
arrangements, Galbut admonished Elliott to make sure that Galbut's
wife never crossed paths with Galbut's female companions at any of
the airports or hotels.

(f) While Elliott was employed as Galbut's administrative
assistant, Galbut required Elliott to keep prophylactics in her
desk drawer for Galbut's use with various female friends. Galbut

instructed Elliott that, if Galbut's wife were to show up and ask

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about the prophylactics, Elliott was to inform her that they
belonged to her, not to Galbut. In addition, on one occasion, a
box arrived at Galbut's office which contained various sexual
devices. Galbut explained to Elliott that the contents of the box
were a gift for one of his female companions, a Miami Beach
attorney with whom Galbut was having an intimate relationship.
Galbut instructed Elliott that if Galbut's wife found any of the
items in the box, Elliott was to say that the items belonged to
Elliott, not to Galbut.

(g) In December, 1994, Galbut required that Elliott meet with
one of his female friends, the Miami Beach attorney, to find out
what she wanted for Christmas. The female friend told Elliott that
she wanted a single strand of pearls. Galbut purchased the pearls
for his female friend, and also purchased a double strand of pearls
for his wife. Galbut then instructed Elliott to wrap the gifts and
told her to make sure that the boxes did not get mixed up.

(h) In or about February, 1995, Galbut drafted a contract
between himself and one of his female companions, the Miami Beach
attorney, regarding their relationship and what his
responsibilities would be if a baby was conceived by them. He told
Elliott to review the contract and to add whatever she felt was
appropriate. Despite Elliott's protestations, Galbut insisted that
Elliott assist him with preparation of the contract.

(i) In September, 1995, on two different occasions while
Elliott was discussing business with Galbut, Galbut went into his

private bathroom adjacent to his office and did not close the door

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while he was urinating, thereby exposing himself to Elliott. On
both occasions, Elliott walked out of the office.

(j) On December 18, 1995, Galbut demanded Elliott resign
because, on the preceding Friday, December 15, 1995, Elliott had
refused to provide companionship to a brother of one of Galbut's
female friends at Galbut's penthouse apartment in the Alexander
Hotel. Elliott refused to resign, and informed Galbut that she
would contact an attorney to defend her rights with regard to
Galbut's past sexual harassment and other illegal conduct. Galbut
thereupon tore up Elliott's bonus check, which Galbut had promised
her, and attempted to have Elliott execute a waiver of her legal
rights in exchange for a payment of $5,000 to $10,000. Elliott
refused to sign the waiver documents, and was discharged from her
employment on or about December 27, 1995.

14. Defendants CHI and CHS, through Galbut, their Managing
Director and Elliott's immediate supervisor, engaged in the above-
described unlawful sex discrimination, sexual harassment and
exposure of Elliott to a sexually hostile environment in violation
of Title VII, 42 U.S.C. §2000e-2(a)(1)(2). CHI and CHS, through
Galbut, engaged in the unlawful conduct willfully, wantonly, and in
reckless disregard of Elliott's rights.

15. As a direct and proximate result of the discriminatory
conduct of CHI and CHS, through their agent Galbut, Elliott has
suffered substantial losses in the form of back pay, lost benefits,
embarrassment, humiliation, compensatory damages, and severe

emotional distress.

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16. Elliott's suffering is a continuing and immediate
irreparable injury for which she has no adequate remedy at law.
Because of the unusually egregious conduct of CHI and CHS,
committed through their agent Galbut, and the hostile nature of the
work environment created thereby, reinstatement of Elliott within
CHI and CHS would be an inadequate remedy at law. Elliott,
therefore, is entitled to receive front pay for a period of time to
be determined by this Court.

WHEREFORE, Elliott prays that this Court:

(a) Declare the conduct engaged in by CHI and CHS as in

violation of Elliott's rights under Title VII of the Civil

Rights Act of 1964, as amended;

(b) Award Elliott front pay until she receives comparable new

employment or until such time as the Court deems just and

proper;

(c) Award Elliott back pay, lost fringe benefits and damages

for her humiliation, embarrassment and emotional distress;

(ad) Award Elliott all due pre-judgment interest;

(e) Award Elliott compensatory damages as provided for by

law;

(f£) Award Elliott punitive damages for Defendants' willful

and reckless misconduct;

(g) Award Elliott reasonable attorney's fees and costs as

provided by law and the statutes described hereinabove; and

(h) Grant such other relief as this Court deems just and

proper.

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COUNT II - UNLAWFUL SEX DISCRIMINATION AND SEXUAL HARASSMENT

BY CHI AND CHS YN VIOLATION OF THE FLORIDA CIVIL RIGHTS ACT

17. Elliott realleges the allegations of paragraphs 13, 15
and 16 as if set forth fully herein.

18. The actions of CHI and CHS as described in paragraph 13
above constitute unlawful sex discrimination and sexual harassment
in violation of the Florida Civil Rights Act of 1992, §760.10(1),
Fla. Stat. (1994), which makes it unlawful "to discharge or fail or
refuse to hire an individual, or otherwise to discriminate against
any individual with respect to compensation, terms, conditions, or
privileges of employment, because of such individual's sex. ..."

19. CHI and CHS, through Galbut, engaged in their unlawful
conduct willfully, wantonly, and with reckless disregard of
Elliott's rights under the Florida Civil Rights Act of 1992, as
amended.

WHEREFORE, Elliott prays that this Court:

(a) Declare the conduct engaged in by CHI and CHS as in

violation of Elliott's rights;

(b) Award Elliott front pay until she receives comparable new

employment or until such time as the Court deems just and

proper;

(c) Award Elliott back pay, lost fringe benefits and damages

for embarrassment, humiliation and mental anguish;

(ad) Award Elliott all due pre-judgment interest;

(e) Award Elliott compensatory damages as provided for by

law;

(£) Award Elliott punitive damages as provided for by law for

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the willful and reckless misconduct of CHI and CHS;

(g) Award Elliott reasonable attorney's fees and costs as
provided by law and the statutes described hereinabove; and
(h) Grant such other relief as this Court deems just and
proper.

COUNT IIT - UNLAWFUL RETALIATION BY CHI AND CHS
IN VIOLATION OF FLORIDA STATUTE §448.102

20. Section 448.102(3), Fla. Stat. (1991), provides that
"“[a]n employer may not take any retaliatory personnel action
against an employee because the employee has .. . [o]bjected to,
or refused to participate in, any activity, policy, or practice of
the employer which is in violation of a law, rule, or regulation."
Section 448.101(4), Fla. Stat. (1994), provides that the term "law,
rule, or regulation" for purposes of §448.102 "includes any statute
or ordinance or any rule or regulation adopted pursuant to any
federal, state or local statute or ordinance applicable to the
employer and pertaining to the business."

21. Between 1990 and 1995, CHI and CHS, through their agent
Galbut, attempted to have or had Elliott engage in the following
illegal activities, among others:

(a) In the summer of 1995, Galbut requested Elliott, if she
were subpoenaed, to provide perjured testimony in connection with
private civil litigation and an investigation by the Federal
Deposit Insurance Corporation involving Capital Bancorp, a Miami-
based bank of which Galbut is a shareholder and member of the board

of directors. This perjured testimony would have included, but not

11

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Case 1:96-cv-01698-WDF Document1 Entered on FLSD Docket 06/27/1996 Page 12 of 18

have been limited to, the fact that certain shares of stock of
Capital BanCorp were being fraudulently held in trust for Galbut
under the names of certain other third parties. Elliott refused to
do so.

(b) In or about May of 1995, Galbut requested Elliott to
assist the law firm hired by the Capital Bancorp board of directors
to conduct a purportedly "independent" investigation into the Holtz
family's alleged wrongdoing in Capital Bancorp. Galbut made this
request even though he was a shareholder and a member of the board
of directors of Capital Bancorp and had been named as a party in a
lawsuit against the bank by dissident shareholders. Galbut
promised Elliott a large bonus if she were to become involved in
the "independent" investigation and provide him with details of any
findings of wrongdoing before they were officially reported.
Elliott refused to become involved and refused the bonus.

(c) In late 1992, following Hurricane Andrew, Galbut
requested Elliott to assist in the preparation of untruthful and
inflated insurance schedules to present to insurance companies
regarding the CHI hotel properties and Galbut's personal residence.
Elliott refused to work on the preparation of such schedules.

(d) Between 1993 and 1995, Galbut required Elliott, as well
as other employees of the company, to make campaign contributions
to various Dade County and Miami Beach political candidates.
Galbut informed Elliott and the other employees that they would be
reimbursed by CHI and CHS for the contributions. Elliott later

learned that the contributions were illegal.

12

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(e) In or about July and August of 1995, Galbut instructed
Elliott to sign certain papers with SunTrust Bank for purposes of
opening a foreign bank account in the name of an offshore company
known as "Perdido". Galbut instructed Elliott to sign the papers
as the managing director of the offshore company. At the time,
Galbut explained to Elliott that the purpose of the company was to
hold his money, although the money would appear to be held in
another person's name. When Elliott discovered the purpose of the
offshore company, she refused to become further involved in the
situation.

(f) Between 1993 and 1995, Galbut required Elliott to assist
him in procuring documents that resulted in substantial charges to
the Defendant companies for improvements, renovations and
restorations performed on Galbut's personal properties. These
fabricated charges resulted in substantial illegal federal tax
savings to Galbut, personally.

(g) At various times during Elliott's employment, Galbut
required Elliott to notarize signatures of individuals she did not
know and who did not sign in her presence. Elliott refused to
comply with Galbut's requests.

(h) In mid-1995, Galbut requested Elliott to provide him with
assistance in a scheme to divert funds outside the United States
through certain Israeli bank accounts to avoid paying United States
taxes. Elliott refused to do so.

22. On December 18, 1995, when Galbut requested Elliott's

resignation and tore up her bonus check, Elliott refused to resign

13

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Case 1:96-cv-01698-WDF Document1 Entered on FLSD Docket 06/27/1996 Page 14 of 18

and informed Galbut that she would contact an attorney to defend
her rights, and would disclose both Galbut's sexual harassment and
the illegal activities in which he was engaged. Galbut then
requested Elliott to execute a waiver of her rights against him, in
exchange for a $5,000 to $10,000 payment. Elliott refused to
execute the waiver documents and to accept Galbut's money. Elliott
subsequently learned she had been terminated from her employment on
or about December 27, 1995.

23. CHI and CHS terminated Elliott from her employment in
part because she objected to or refused to participate in the
unlawful activity and practices of Galbut, her supervisor and CHI's
Managing Director. CHI and CHS' termination of Elliott, therefore,
constitutes unlawful retaliatory personnel action against Elliott
in violation of §448.102(3), Fla. Stat. (1991).

24. As a direct and proximate result of CHI and CHS' unlawful
retaliatory personnel action against Elliott taken through CHI and
CHS' agent Galbut, Elliott has suffered substantial losses in the
form of back pay, lost fringe benefits, and other compensatory
damages, including humiliation, embarrassment, and severe emotional
distress.

WHEREFORE, Elliott prays that this Court:

(a) Declare the conduct engaged in by CHI and CHS to in

violation of Elliott's rights under §448.102(3), Fla. Stat.

(1991);

(b) Award Elliott back pay, lost fringe benefits, and

compensatory damages;

14

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Case 1:96-cv-01698-WDF Document1 Entered on FLSD Docket 06/27/1996 Page 15 of 18

(c) Award Elliott all due pre-judgment interest;

(d) Award Elliott reasonable attorney's fees and costs
pursuant to §448.104, Fla. Stat. (1991); and

(e) Grant such other relief as this Court deems just and
proper.

COUNT IV - INTENTIONAL INFLICTION OF EMOTIONAL DISTRESS
AGAINST GALBUT

25. Elliott realleges paragraphs 13, 15, 21 and 22 as if set
forth fully herein.

26. In addition to the conduct alleged in paragraphs 13 and
21 above, Galbut engaged in additional conduct which, when viewed
together the conduct alleged in paragraphs 13 and 21, was of such
an outrageous and reprehensible nature as to cause Elliott severe
emotional distress. Such additional conduct included the
following:

(a) Making false accusations regarding Elliott's reasons for
being terminated, including accusations that Elliott had certain
mental and psychological defects.

(b) Unreasonably delaying payment of Elliott's last paycheck
in an effort to coerce Elliott to execute a waiver of legal rights
against Galbut and the Defendant companies.

(c) When Galbut learned that Elliott had hired an attorney to
bring the instant lawsuit against him, Galbut filed a frivolous
charge of extortion against Elliott in an effort to prevent her
from pursuing her rights under Title VII, the Florida Civil Rights
Statute, and the Florida Whistleblower Statute. Galbut, knowing
that Elliott was already receiving medical attention for anxiety

15

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Case 1:96-cv-01698-WDF Document1 Entered on FLSD Docket 06/27/1996 Page 16 of 18

and severe emotional distress resulting from his earlier actions,
filed the frivolous extortion charge intentionally to prevent
Elliott from exercising her legal rights and to further increase
her already deep emotional and psychological trauma.

27. Galbut's conduct as described in paragraphs 13, 21, and
26 above, was done intentionally, maliciously, wantonly, willfully,
with reckless disregard of Elliott's rights, and was so outrageous
and beyond the bounds of decency as to constitute the intentional
infliction of emotional distress against Elliott.

28. As a proximate and direct result of Galbut's intentional
infliction of emotional distress against Elliott in connection with
the above-described events, Elliott has suffered damages in the
form of embarrassment, humiliation, severe emotional distress, and
mental and physical pain and suffering.

WHEREFORE, Elliott prays that this Court:

(a) Award Elliott compensatory damages;

(b) Award Elliott punitive damages in excess of $1,000,000;

(c) Award Elliott all due pre-judgment interest; and

(d) Grant Elliott such other relief as the Court deems just

and proper.

JURY TRIAL DEMAND

Elliott demands trial by jury of all issues so triable.

16

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DATED this [; 7 ~ day of June, 1996.

Respectfully submitted,

BURD DOWNS & MAGATHAN
Attorneys for Plaintiff
601 Brickell Key Drive
Suite 500

Miami, Florida 33131
Tel: (305) 374-3100

B Ss
Roderick V. Hannah
Florida Bar No. 435384

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17

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Case 1:96-cv-01698-WDF Document 1 Entered on FLSD Docket 06/27/1996 Page 18 of 18

CIVIL COVER SHEET G 6 - 16 9 8

The J5-44 civil cover sheet and the information contained herein neither replace nor supplement the filing and service of pleadings or other papers as required by law, except as provided by local
rules of court. This form, approved by the Judicial Conference of the United States in September 1974, is required for the use of the Clerk of Court for the purpose of initiating the civil docket
sheet. (SEE INSTRUCTIONS ON THE REVERSE OF THE FORM.)

1! (a) PLAINTIFFS DEFENDANTS Cl - F ERGUSON

RUSSELL W. GALBUT, individually;

ROBYN ELLIOTT MAGISTRATE . 'CRESCENT HEIGHTS INVESTMENTS, INC.,
(TURNOFE a Florida corporation; and CRESCENT
HEIGHTS SALES, INC., a Florida
corporation, DADE
(b) CouNTY OF RESIDENCE OF FIRST LISTED PLAINTIFF __DADE __ | COUNTY OF RESIDENCE OF FIRST LISTED DEFENDANT __~"—
(EXCEPT IN U.S. PLAINTIFF CASES) (IN U.S. PLAINTIFF CASES ONLY)

NOTE: IN LAND CONDEMNATION CASES, USE THE LOCATION OF THE
TRACT OF LAND INVOLVED

 

(c) ATTORNEYS (FIRM NAME, ADDRESS, AND TELEPHONE NUMBER) ATTORNEYS (IF KNOWN)
Roderick V. Hannah, Esq.

601 Brickell Key Dr., Suite 500
Miami, FL 33131 (305) 374-3100

IRCLE COUNTY WHERE ACTION AROSE:
DADE, MONROE, BROWARD, PALM BEACH, MARTIN, ST. LUCIE, INDIAN RIVER, OKEECHOBEE, HIGHLANDS

l. BASIS OF JURISDICTION piace anx wonesoxomm | Ill. CITIZENSHIP OF PRINCIPAL PARTIES (PLACE AN x IN ONE BOX

ee (For Diversity Cases Only) FOR PLAINTIFF ANO ONE BOX FOR OEFENOANT)
C1 U.S. Government ~~~ J 3 Federal Question
Plaintitt CO US Gover PTF DEF PTF DEF

Citizen of This State cit ws Incorporated or Principal Place O4 fia

Unknown

 

 

O 2 U.S. Government O 4 Diversity / of Business In This State
Defendant (Indicate Citizenship of Citizen of Another State [12 012 __ Incorporatedand Principal Place O5 05
Parties in Item Ill) of Business in Another State .
_ | Citizen or Subject of a O3 03 Foreign Nation O6 a6
A -DADE Gnu 1OAy -WDE/WICT Foreign Country

 

IV. CAUSE OF ACTION (CITE THE U.S. CIVIL STATUTE UNDER WHICH YOU ARE FING AND WRITE A BRIEF STATEMENT OF CAUSE.

00 NOT CITE JURISDICTIONAL STATUTES UNLESS DIVERSITY) Title VIL of Civi ( Re; ht Act ol 1764, as amended,
4¢) U-S.C. § 2000e , ef se7.

IVa. / days estimated (for both sides) to try entire case.
V. NATURE OF SUIT (etace An x IN ONE BOX ONLY)

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

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C 140 Negotiable instrument Liabitty 0 365 Personal iepury— (630 quer Laws 28 USC 157 (1) 430 Banks and Banking
C150 Recovery of Overpayment | © 320 Assault, Libel & Product Liability 640 B DO 450 Commerce/icc Rates/etc.
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*A or B. Actions *A or B
Appeal to District
Vi. OR! . (PLACE AN x IN ONE BOX ONLY) Transferred trom D 7 Judge trom
821 Original 2 Removed from 1D 3 Remanded from o4 Refiled C5 another district O 6 Multidistrict Magistrate
Proceedi State Court Appellate Court . (specify) Litigation Judgment
Vil. REQUESTED IN ss cHeck if THIS is A CLASS ACTION DEMAND $ Check YES only if demanded in complaint:
COMPLAINT =O UNDERFRCP 23 _ JURY DEMAND: = yfves_ONo
vill. RELATED CASE(S) (See instructions):
IF ANY JUDGE sé DOCKET NUMBER

 

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